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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 1:25-CR-20237-GAYLES


  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  GORDON LOUIS,

        Defendant.
  ________________________________________/

                                PRETRIAL DETENTION ORDER

         On June 11, 2025, the parties appeared before the Court for a hearing to determine whether

  Defendant Gordon Louis should be detained prior to trial under 18 U.S.C. § 3142, commonly

  known as the Bail Reform Act of 1984. Assistant United States Attorney Christopher Jones

  appeared on behalf of the Government.         Attorney Sogol Ghomeshi appeared on behalf of

  Defendant, who was also present. Defendant indicated that he was able to understand what was

  being said to him throughout the hearing.

         With the advice of counsel, Defendant knowingly and voluntarily waived his right to a

  bond hearing at this time and stipulated to pretrial detention, reserving the right to request a bond

  hearing in the future. Consequently, no bond hearing was held, no evidence was presented, no

  witnesses were called, and no bond was given. Having considered the Indictment, the Pretrial

  Services Report, and the factors enumerated in 18 U.S.C. § 3142(g), the Court accepts Defendant’s

  stipulation to detention.
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         Accordingly, it is hereby ORDERED that Defendant Gordon Louis be detained pending

  trial and until the conclusion thereof. This Order is without prejudice to Defendant seeking a bond

  hearing at a subsequent date. Defendant must be remanded to the custody of the United States

  Marshals. The Court directs that Defendant be afforded reasonable opportunity for private

  consultation with counsel. On order of a court of the United States or on request of an attorney

  for the Government, the person in charge of the corrections facility in which Defendant is confined

  shall deliver Defendant to a United States Marshal for the purpose of an appearance in connection

  with a court proceeding.

         DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of June, 2025.




                                                       ___________________________________
                                                       ENJOLIQUÉ LETT
                                                       UNITED STATES MAGISTRATE JUDGE




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